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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                         :
                                                 :
       v.                                        :   Criminal No. 21-cr-178-APM
                                                 :
                                                 :
PETER SCHWARTZ                                   :
                                                 :
                       Defendant.                :


                  GOVERNMENT’S NOTICE OF FILING OF EXHIBITS
                     PURSUANT TO LOCAL CRIMINAL RULE 49

       The United States of America, through undersigned counsel, hereby gives notice pursuant

to Local Criminal Rule 49, of the exhibits that were provided to the Court and defense counsel on

April 19, 2023, via USAfx, in relation to Government’s Sentencing Memorandum. Because the

exhibits are video clips, they are not in a format that readily permits electronic filing on CM/ECF.

       The list of the exhibits is as follows:

            •   Gov’t Ex. 1 – Schwartz Chair Throw

            •   Gov’t Ex. 2 – Schwartz MK-9 Spray at 2:35pm

            •   Gov’t Ex. 3 – Tunnel Spray Side-by-Side

            •   Gov’t Ex. 4 – Schwartz Tunnel Heave Ho
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       The United States takes the position that the entered exhibits should be promptly released

to the public.

                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            United States Attorney
                                            D.C. Bar No. 481052


                                     By:    __/s/ Jocelyn Bond________
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